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            EXHIBIT 1
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                     FINAL SETTLEMENT AGREEMENT
   THOMAS ET AL. V. KELLOGG COMPANY AND KELLOGG SALES COMPANY

        This Final Settlement Agreement is voluntarily made and entered into by and between
Patty Thomas, Jennifer Louch (formerly Dowling), Kelley Dye, Jr., Robert Gibson, Laura
Wisby, David Rink, Judy Brashear, David Mastenbrook, Armon McWell, Soliman Sayedi, and
Bruce Johnson (together, “Named Plaintiffs”), on behalf of themselves and each and every opt-in
plaintiff in the Fair Labor Standards Act collective group they represent (together with Named
Plaintiffs, “Plaintiffs”) and Kellogg Company and Kellogg Sales Company (collectively,
“Kellogg”).

        WHEREAS, on February 26, 2013, Patty Thomas filed a putative opt-in collective and
class action complaint on behalf of herself and others similarly situated, styled Patty Thomas v.
Kellogg Company and Kellogg Sales Company, No. 3:13-cv-05136-RBL (the “Action”), alleging
Kellogg improperly classified those who worked in Kellogg’s Territory Manager, Retail Sales
Representative, and other positions with similar job titles as exempt employees under the Fair
Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”) and Washington state law;

       WHEREAS, Ms. Thomas amended her complaint several times adding Jennifer Louch
(formerly Dowling), Kelley Dye, Jr., Robert Gibson, Laura Wisby, David Rink, Judy Brashear,
David Mastenbrook, Armon McWell, Soliman Sayedi, and Bruce Johnson as Named Plaintiffs,
and adding wage claims under the state laws of Missouri, New York, Ohio, Arizona, Minnesota,
Kentucky, Michigan, Illinois and Wisconsin, all brought on behalf of putative Rule 23 classes;

       WHEREAS, on January 9, 2014, the Court granted the Named Plaintiffs’ motion for
conditional certification of two FLSA collective groups;

        WHEREAS, there are 750 Plaintiffs (inclusive of the Named Plaintiffs) who filed consent
to join forms opting into this case and are a part of this Action;

       WHEREAS, on July 26, 2017, the Parties engaged in mediation before James A. Smith,
Jr.;

       WHEREAS, the mediation did not result in a settlement, but did result in ongoing
settlement discussions;

        WHEREAS, Kellogg denies that it has committed any wrongdoing or violated any state
or federal law pertaining to the payment of wages or hours of work and has vigorously contested
the claims asserted in the Action;

        WHEREAS, to avoid the expense and burden of further litigation, the Parties now desire
to resolve the claims of the 750 Plaintiffs;

        NOW, THEREFORE, in consideration of the foregoing and the promises contained
herein, the receipt and sufficiency of which is hereby acknowledged, the Parties agree as follows:



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I.   DEFINITIONS. For purposes of this Agreement, the following definitions shall apply in
     addition to the definitions set forth in other sections of this Final Settlement Agreement.

     A.     “Final Approval Order and Judgment of Dismissal” shall mean and refer to a
            Court order (a) finally approving of the Parties’ settlement, memorialized in this
            Final Settlement Agreement, (b) extinguishing the claims against the Released
            Parties as specified in Section IX, and (c) dismissing the Action with prejudice. A
            proposed Final Approval Order and Judgment of Dismissal shall accompany
            Plaintiffs’ motion for final approval of the settlement, service payments, and
            attorneys’ fees and costs.

     B.     “Notice Period” shall mean the period of time beginning on the date the
            Settlement Administrator mails notice of the Parties’ settlement, as provided for
            in Section V.B., and ending on the date twenty-one (21) calendar days thereafter,
            except that the Parties may agree to extend the Notice Period for individuals to
            whom notice was mailed, and whose notice was returned as undeliverable, to the
            extent that the Settlement Administrator re-sends notice after following up
            through skip-tracing efforts. The Notice Period may only be extended under these
            circumstances upon agreement and consent of all Parties.

     C.     “Parties” shall mean and refer to Plaintiffs and Defendants Kellogg Company
            and Kellogg Sales Company collectively; each may also be referred to separately
            as a “Party.”

     D.     “Plaintiffs” shall mean the 750 individuals who filed consents to sue in the
            Action, who did not withdraw their consents to sue, and whose claims the Court
            has not dismissed. Exhibit 1 identifies the 750 Plaintiffs.

     E.     “Plaintiffs’ Counsel” shall mean Getman, Sweeney & Dunn, PLLC and Frank
            Freed Subit & Thomas.

     F.     “Preliminary Approval Order” shall mean and refer to a Court order
            preliminarily approving of the Parties’ settlement, memorialized in this Final
            Settlement Agreement, and requiring any Plaintiffs who wish to opt out of the
            Action and thereby be excluded from the settlement to send notice of their desire
            to opt out no later than twenty-one (21) calendar days after the Settlement
            Administrator mails notice of the settlement to Plaintiffs.

     G.     “Opt-out Plaintiff” shall mean any Plaintiff who opts out of the Action between
            the date the last party executes this Agreement and the close of the Notice Period.

     H.     “Released Parties” shall mean and refer to Kellogg Company and Kellogg Sales
            Company, the Defendants in the Action, and each of their present and former
            officers, executives, directors, employees, agents, attorneys, predecessors,
            successors, assigns, shareholders, parents, subsidiaries, affiliated entities,
            representatives, transferors, transferees, partners, principals, trustees, executors,
            members, insurers, investors, servants, beneficiaries, devisees, guardians, heirs,


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             and all other persons, firms, corporations, divisions, associations, limited liability
             companies, and/or partnerships associated therewith or related thereto.

       I.    “Settlement Administrator” shall mean the settlement administrator agreed to
             by the Parties no later than seven (7) calendar days after the execution of this
             Final Settlement Agreement.

       J.    “Settlement Effective Date” shall mean and refer to the later of: (a) if no motion
             for extension of time to file a notice of appeal is filed and no appeal is filed, the
             date thirty-three (33) calendar days after the issuance of the Final Approval Order
             and Judgment of Dismissal, (b) if a motion for extension of time to file a notice of
             appeal is filed and/or if an appeal is filed, the date on which a court finally
             disposes of any appeal that has the effect of affirming the Final Approval Order
             and Judgment of Dismissal in its entirety, or (c) if a motion for extension of time
             to file a notice of appeal is filed and no appeal is filed within 30 days thereof, the
             date sixty-three (63) calendar days after the issuance of the Final Approval Order
             and Judgment of Dismissal.

II.    SETTLEMENT AMOUNT AND ALLOCATION.

       A.    Gross Settlement Amount. In full settlement of all wage and hour claims
             Plaintiffs asserted or could have asserted in the Action, including claims for
             attorneys’ fees and costs, Kellogg agrees to pay Plaintiffs a total gross settlement
             amount not to exceed under any circumstances Sixteen Million Seven Hundred
             and Fifty Thousand U.S. Dollars ($16,750,000.00 U.S.D.) (“Gross Settlement
             Amount”).

       B.    Net Settlement Amount. The “Net Settlement Amount” is the Gross Settlement
             Amount less attorneys’ fees and litigation costs (see Section III), service
             payments (see Section IV), and settlement administration costs (see Section VI).
             Plaintiffs’ Counsel will determine allocation of the Net Settlement Amount
             among Plaintiffs (the “Individual Settlement Allocation”). Kellogg will not
             oppose the allocation.

III.   ATTORNEYS’ FEES AND COSTS.

       A.    Plaintiffs’ Counsel May Request Fees and Costs. In connection with the
             Settlement, the Parties agree that Plaintiffs’ Counsel may seek Court approval for
             payment of litigation attorneys’ fees in an amount not to exceed Five Million Five
             Hundred and Eighty Three Thousand and Three Hundred and Thirty Three
             Dollars ($5,583,333.00) (one-third of the Gross Settlement Amount). In addition,
             the Parties agree that Plaintiffs may seek reimbursement of costs from the Gross
             Settlement Amount. Kellogg will not oppose Plaintiffs’ application for attorneys’
             fees in an amount not to exceed Five Million Five Hundred and Eighty Three
             Thousand and Three Hundred and Thirty Three Dollars ($5,583,333.00) and
             litigation costs. Costs and attorneys’ fees requested by Plaintiffs’ Counsel shall be
             payable from (and not in addition to) the Gross Settlement Amount.

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      B.    Unapproved Portion of Fees and Costs Requested. If the Court does not
            approve any portion of Plaintiffs’ Counsel’s application for attorneys’ fees and
            costs, the money will be redistributed to the Plaintiffs on a pro rata basis.

      C.    Approved Portion of Fees and Costs Requested.

            1.     The Settlement Administrator shall issue Plaintiffs’ Counsel an IRS Form
                   1099 for payment of any amount of attorneys’ fees and costs approved by
                   the Court as required by law.

            2.     The amount of attorneys’ fees and costs approved by the Court shall be
                   paid from the Gross Settlement Amount directly to Getman, Sweeney &
                   Dunn, PLLC by wire transfer from the Qualified Settlement Fund (“QSF”)
                   within fourteen (14) calendar days of the order approving of attorneys’
                   fees and costs or the Settlement Effective Date, whichever is later.

IV.   INDIVIDUAL RELEASES BY NAMED PLAINTIFFS AND CERTAIN OTHER
      PLAINTIFFS; SERVICE PAYMENTS.

      A.    Individual Releases. As part of this Agreement, any Named Plaintiff and any
            individual who receives an Approved Service Payment, who does not opt out,
            shall individually release his or her claims as set forth in Section IX.B. below.

      B.    Plaintiffs May Request Approval Of Service Payments. Plaintiffs may make an
            application to the Court for the award of service payments to certain Plaintiffs.
            Plaintiffs may request that each Named Plaintiff receive a Service Payment not to
            exceed Twenty Thousand Dollars U.S. Dollars ($20,000.00 U.S.D.). Plaintiffs
            may also request that each Plaintiff (excluding Named Plaintiffs so as not to
            permit a duplicative recovery) who sat for deposition may receive a Service
            Payment not to exceed Five Thousand U.S. Dollars ($5,000.00 U.S.D.). Kellogg
            will not oppose Plaintiffs’ request for Service Payments in these proposed
            amounts (or in a lower amount) to the referenced individuals.

      C.    Unapproved Portion of Requested Service Payments. To the extent that the
            Court does not approve the entire amount of service payments requested by
            Plaintiffs, the outstanding and unapproved portion of the total requested amount
            shall be distributed to Plaintiffs as part of the Individual Settlement Allocation on
            a pro rata basis. In the event of such redistribution, Plaintiffs shall provide
            Kellogg and the Settlement Administrator with an amended Individual Settlement
            Allocation by the Settlement Effective Date.




      D.    Approved Service Payments.



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           1.    Any Service Payments awarded by the Court to Plaintiffs (“Approved
                 Service Payments”) shall be paid from the Gross Settlement Amount.

           2.    Approved Service Payments shall be paid in addition to, and not in the
                 place of, the Individual Settlement Allocations.

           3.    Any Plaintiff to whom the Court has approved a Service Payment shall be
                 deemed to have released his or her claims as provided for in Section IX.B.

           4.    Unless otherwise required by law, approved Service Payments shall be
                 allocated 100% as non-wage income, for which a Form 1099 shall issue to
                 the recipient, and shall be reported to state and federal taxing authorities as
                 such.

V.   APPROVAL OF SETTLEMENT; NOTICE OF SETTLEMENT.

     A.    Preliminary Approval of Settlement. All of the terms of this Agreement are
           contingent upon the Court’s preliminary approval of the Parties’ settlement.

           1.    Plaintiffs’ Counsel shall prepare a motion for preliminary approval of the
                 Parties’ settlement and provide to Kellogg within seven (7) calendar days
                 of the Parties’ executing this Agreement. Kellogg will review and provide
                 proposed edits to the motion, and the Parties will jointly file the motion for
                 preliminary approval of the Parties’ settlement no later than twelve (12)
                 calendar days of the Parties’ executing this Agreement.

           2.    Plaintiffs’ Counsel shall provide the names and addresses of each recipient
                 of each Plaintiff’s Settlement Payment(s), including payments of
                 Individual Settlement Allocations and proposed Service Payments, taking
                 into account any known bankruptcy proceedings governing Plaintiffs
                 and/or the death of a Plaintiff (“Settlement Recipients”). Plaintiffs’
                 Counsel shall provide the names and addresses of all Settlement
                 Recipients to Kellogg and the Settlement Administrator no later than
                 seven (7) calendar days of the Parties’ executing this Agreement.

           3.    Preliminary approval shall be deemed to occur on the date the Court issues
                 a Preliminary Approval Order, as defined above.

     B.    Notice of Settlement and Right to Opt Out.

           1.    No later than seven (7) days after the Court issues the Preliminary
                 Approval Order, the Settlement Administrator shall mail notice of the
                 settlement and the Court’s preliminary approval to the Settlement
                 Recipients. Such notice shall be substantially in the form attached as
                 Exhibit 2 to this Agreement (“Settlement Notice”).

           2.    Individuals may request to be excluded from the settlement by sending a
                 written letter to the Claims Administrator stating that they want to opt out

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                   of the action and be excluded from the settlement. This letter must include
                   the individual’s name, address, telephone number, signature, and the last
                   four digits of his or her Social Security Number (“Opt-Out Letter”). To be
                   effective, an Opt-Out Letter must be postmarked no later than the date to
                   be specified in the Settlement Notice, which shall be twenty-one (21)
                   calendar days after mailing of the notice, pursuant to the Court’s
                   Preliminary Approval Order.

            3.     Opt-out Plaintiffs shall not receive any Settlement Payment (Kellogg has
                   no obligation to transfer any Approved Service Payment and Individual
                   Settlement Allocation amount attributable to an Opt-out Plaintiff into the
                   QSF). Opt-out Plaintiffs shall have their claims tolled for two months
                   from the date they opt-out.

            4.     Any Plaintiff who does not opt out of the action will be bound by the
                   applicable release set forth in Section IX.

      C.    Final Approval of Settlement. All of the terms of this Agreement are contingent
            upon the Court’s final approval of the Parties’ settlement. Final approval shall be
            deemed to occur on the Settlement Effective Date, as defined above. Plaintiffs’
            Counsel shall provide Kellogg with a draft motion for final approval of the
            Parties’ settlement no later than seven (7) calendar days after the end of the
            Notice Period.

VI.   SETTLEMENT ADMINISTRATION

      A.    Settlement Administrator. The Settlement Administrator shall perform services
            including:

            1.     Mailing the Settlement Notice;

            2.     Creation of a QSF within the meaning of Treasury Regulation § 1.468B-1,
                   et seq.;

            3.     Maintenance of an 800 number for calls about the lawsuit and settlement,
                   which shall go live on the date the Settlement Administrator mails the
                   Settlement Notice and shall continue to be live until nine (9) months after
                   the Settlement Administrator mails the Settlement Checks;

            4.     Payout of the Gross Settlement Amount;

            5.     Provision of summaries to Plaintiffs’ Counsel and counsel for Kellogg of
                   all activity, including names and contact information with respect to
                   Plaintiffs (all communications shall include the Kellogg employee
                   identification number of the Plaintiff(s) at issue, where applicable);

            6.     Follow up on returned Settlement Notices and Settlement Checks through
                   skip tracing and reasonable efforts to locate all Plaintiffs; and

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             7.     Mailing of a reminder to any Plaintiff who fails to cash his or her
                    Settlement Check one, three, and five months after the Settlement Check
                    was initially mailed.

             8.     Sending any uncashed checks to the applicable state department of
                    unclaimed funds in the name of the non-cashing Plaintiff, to be handled in
                    accordance with the applicable state law for unclaimed funds.

       B.    Settlement Administration. The Settlement Administrator shall be required to
             agree in writing to treat information it receives or generates as part of its claims
             administration process as confidential, and to use such information solely for
             purposes of claims administration. Kellogg’s counsel and Plaintiffs’ Counsel shall
             have equal access to the Settlement Administrator, as well as to all information in
             possession of the Settlement Administrator related to the administration of this
             settlement.

       C.    Settlement Administration Costs. All costs of administering the Parties’
             settlement, including but not limited to fees and costs paid to the Settlement
             Administrator for issuing checks, mailing, remailing, skip tracing, reminding, and
             administration, shall be paid from the Gross Settlement Amount, thereby reducing
             the amount payable to Plaintiffs, except as otherwise provided for in Section
             VIII.C., related to the termination of this Agreement.

             1.     The Parties shall instruct the Settlement Administrator to prepare an
                    estimate of fees and costs for all services to be provided in conjunction
                    with the Parties’ settlement and this Agreement, which the Settlement
                    Administrator shall provide to the Parties no later than the date on which
                    the last Party executes this Agreement.

             2.     The Parties shall jointly authorize payment to the Settlement
                    Administrator of all settlement administration costs from the monies on
                    deposit in the QSF at an appropriate time.

VII.   DISTRIBUTION OF NET SETTLEMENT AMOUNT.

       A.    Finalizing Individual Settlement Allocations.

             1.     No later than seven (7) calendar days of the Parties’ executing this
                    Agreement, Plaintiffs shall provide Kellogg and the Settlement
                    Administrator with the Individual Settlement Allocations and a draft
                    motion for preliminary approval of the Parties’ settlement.

             2.     No later than the Settlement Effective Date, Plaintiffs’ Counsel shall
                    provide to the Settlement Administrator and Kellogg: (1) Final Fee and
                    Cost Attributions, (2) Approved Service Payments to be made, and
                    (3) final Individual Settlement Allocations.



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B.    Distribution Process. The Settlement Administrator shall be responsible for
      distributing the Net Settlement Amount as provided for herein.

      1.    By the Settlement Effective Date, Kellogg shall transmit to the Settlement
            Administrator the Gross Settlement Amount, as approved by the Court,
            less any Individual Settlement Allocations and/or Service Payments
            attributable to Opt-Out Plaintiffs.

      2.    Payout of the Individual Settlement Allocations and any Approved Service
            Payments shall be made by check(s) (“Settlement Checks”) issued no later
            than fourteen (14) calendar days after the Settlement Effective Date.

      3.    All Settlement Checks for Individual Settlement Allocations shall contain
            on the back of the check the following endorsement:

            FINAL RELEASE OF CLAIMS:

            By endorsing this check, I acknowledge that I have received, read and
            understand the Release that accompanied this Settlement Check and that I
            agree to be bound by the terms of that Release. I understand that, by
            endorsing this check, I am waiving and releasing any and all wage and
            hour claims arising out of my Kellogg employment as provided in the
            Court-approved Release.

      4.    All checks issued for payment of Approved Service Payments shall
            contain on the back of the check the following endorsement:

            GENERAL RELEASE OF CLAIMS:

            By endorsing this check, I acknowledge that I have received, read and
            understand the General Release that accompanied this Approved Service
            Payment and that I agree to be bound by the terms of that General Release.
            I understand that, by endorsing this check, I am waiving and releasing any
            and all claims arising out of my Kellogg employment as provided in the
            Court-approved General Release.

      5.    All checks issued pursuant to this Agreement shall be valid for nine (9)
            months from the date of issuance.

      6.    The Settlement Administrator shall follow up on any returned Settlement
            Checks through skip tracing and reasonable efforts to locate all Plaintiffs.

      7.    The Settlement Administrator shall mail reminders to Settlement Check
            recipients who have not yet cashed checks one, three, and five months
            after the Settlement Checks are mailed.

      8.    The Settlement Administrator shall provide Kellogg’s counsel and
            Plaintiffs’ Counsel with a list of those Settlement Check recipients who

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                 have not cashed their checks beginning 30 days after mailing the
                 Settlement Checks and continuing on a bi-weekly basis until eight (8)
                 months after mailing the checks.

          9.     Nine (9) months and seven (7) calendar days after the Settlement Effective
                 Date, the Settlement Administrator shall transfer any amounts attributable
                 to uncashed Settlement Checks remaining in the QSF to the appropriate
                 state department of unclaimed funds. The Settlement Administrator will
                 then transfer to Kellogg any remaining funds in the QSF.

    C.    Effect of QSF Sending Settlement Check. As ordered and approved by the
          Court, each Plaintiff who does not opt-out as provided in Section V.B. releases
          the Released Parties as set forth in Section IX below, regardless of whether he or
          she actually receives a Settlement Check and regardless of whether he or she
          actually cashes a Settlement Check.

VIII. TERMINATING THE AGREEMENT.

    A.    Kellogg’s Right to Terminate If There Are More Than Three Opt-Out
          Plaintiffs. In the event that there are more than three Opt-out Plaintiffs, Kellogg
          shall have the right to terminate this Final Settlement Agreement in its entirety by
          mailing written notice of its election to do so to Plaintiffs’ Counsel no later than
          seven (7) calendar days after receiving written notice that there are more than
          three opt-out Plaintiffs.

    B.    Parties’ Rights to Terminate Absent Court Approval. If the Court declines to
          approve any material term in the Parties’ preliminary or final motion for approval
          of FLSA settlement or requires as a condition to granting the motion modification
          of any term that materially changes this Agreement, then Kellogg or Named
          Plaintiffs shall have the right to terminate this Final Settlement Agreement in its
          entirety by providing written notice of their election to do so to counsel for the
          other Party within fourteen (14) calendar days of the Court’s ruling.

          1.     In the event that a Party sends notice of intent to terminate, the Parties
                 agree to confer and negotiate in good faith to resolve any issues that
                 resulted from the Court’s denial in an effort to obtain Court approval of
                 the settlement of the Action.

          2.     The Parties agree that requiring Kellogg to pay any amount greater than
                 the amount specified in Section II.A. shall be deemed a material change to
                 this Agreement.

          3.     The Parties agree that any ruling that the Court may make regarding Class
                 Counsel’s motion or petition for an award of attorneys’ fees and costs
                 pursuant to Section III shall be deemed a material change to this
                 Agreement.



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            4.      Any disagreement as to what constitutes a material term or material
                    modification shall be resolved by arbitration as provided in Section XX.

      C.    Effect of Termination. If this Final Settlement Agreement is terminated as
            provided herein, then the Agreement shall be deemed null and void, of no force
            and effect, inadmissible as evidence, and of no probative value. In the event of
            such termination, the Parties hereto represent, warrant, and covenant that they will
            not use the Agreement or refer to it for any purpose whatsoever; provided,
            however, that notwithstanding any contrary provisions of this Agreement, the
            provisions of Section XVII shall survive termination. In the event that this Final
            Settlement Agreement is voided under this Section, it is the Parties’ intention that
            no amount will be paid by Kellogg or Plaintiffs with the exception of any costs
            incurred by the Settlement Administrator, which the Parties agree they will share
            equally (50% paid by Plaintiffs and 50% paid by Kellogg) in the event that this
            Agreement is terminated, and that Plaintiffs, Kellogg and the Released Parties
            shall be restored with all rights that they possessed before the execution of this
            Final Settlement Agreement.

IX.   RELEASES.

      A.    Specific Release By Plaintiffs Who Do Not Receive Approved Service
            Payment. Upon final Court approval of the Parties’ settlement, it is understood
            and agreed that each Plaintiff who does not opt out, regardless of whether he or
            she cashes his or her Settlement Check(s), shall be bound by the following
            release:

                 In consideration for the payments provided for in the Final
                 Settlement Agreement executed on my behalf, the sufficiency
                 of which I hereby acknowledged, I, on behalf of myself and my
                 heirs, estates, representatives, successors, assigns and agents,
                 expressly and unconditionally waive any appeal from a court
                 order approving of the Final Settlement Agreement and
                 dismissing the Action with prejudice and release and forever
                 discharge Defendants Kellogg Company and Kellogg Sales
                 Company and all of the Released Parties from any and all wage
                 and hour claims and wage and hour causes of action, known or
                 unknown, that have arisen or could have arisen at any time up
                 to and including the date of final approval of the settlement,
                 including but not limited to (i) any and all claims for unpaid
                 overtime wages, fines, penalties, liquidated damages, and/or
                 attorneys’ fees and expenses; and (ii) any and all wage and
                 hour claims that I asserted or could have asserted in the Action
                 whether under federal, state, local or other laws or ordinances,
                 or pursuant to contract, tort, or equitable theories.



      B.    General Release By Plaintiffs Who Do Receive An Approved Service
            Payment. Upon final Court approval of the Parties’ settlement, it is understood
            and agreed that each Plaintiff to whom the QSF mails an Approved Service

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            Payment, regardless of whether he or she cashes his or her Settlement Check(s),
            shall be bound by the following general release:

               In consideration of the payments provided for in the Final
               Settlement Agreement executed on my behalf, the sufficiency
               of which I hereby acknowledge, I, on behalf of myself and my
               heirs, estates, representatives, successors, assigns and agents,
               expressly and unconditionally waive any appeal from a court
               order approving of the Final Settlement Agreement and
               dismissing the Action with prejudice and release and forever
               discharge Defendants Kellogg Company and Kellogg Sales
               Company and all of the Released Parties from any and all
               legally waivable actions or causes of action, suits, debts,
               claims, charges, complaints, contracts, controversies,
               agreements, promises, expenses, damages, cross-claims, claims
               for contribution and/or indemnity, claims for costs and/or
               attorney’s fees, judgments, losses, liabilities and demands
               whatsoever, in law or equity, which I ever had, now have, or
               may have, against any of the Released Parties for anything that
               has occurred up to and including the date of this Agreement,
               whether known, unknown, or suspected, asserted or unasserted,
               to the extent permitted by law. This release includes, but is not
               limited to, claims (a) made or which could have been made in
               the action, (b) under Title VII of the Civil Rights Act of 1964,
               the Civil Rights Act of 1866, the Americans with Disabilities
               Act, as Amended (“ADA”), the National Labor Relations Act
               (“NLRA”), the Family and Medical Leave Act (“FMLA”), any
               amendments to the foregoing, and any other federal, state, or
               local laws, regulation or ordinance, and (c) under the common
               law for tort or contract, in law or equity, such as negligent
               and/or intentional infliction of emotional distress, breach of
               contract, interference with economic opportunity or
               prospective economic advantage, or defamation. I do not waive
               or release (a) any right to file a charge with or participate in
               proceedings before the EEOC, including for federal age
               discrimination, or (b) any claims that arise after I receive this
               check.

X.   DESIGNATION OF TYPES OF PAYMENTS. Because the Plaintiffs’ claims include
     claims for liquidated damages, the Parties agree that 50% of the Individual Settlement
     Allocation associated with each Plaintiff shall be treated as wages and 50% shall be
     treated as payment for liquidated damages. The Settlement Administrator shall prepare
     the appropriate IRS Form W-2 and IRS Form 1099 statements and provide them to the
     respective Plaintiffs and applicable government authorities as set forth below.




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      A.   Wage Payments. Wage payments shall be reported on an IRS Form W-2. From
           the wage portion of each Plaintiff’s Individual Settlement Allocation amount, the
           Settlement Administrator shall withhold from distribution all applicable federal,
           state, and local income and employment taxes required to be withheld, and cause
           the appropriate deposits of taxes and other withholdings to occur.

            1.     Each Plaintiff’s share of applicable federal, state, and local income and
                   employment taxes withheld from his or her distribution and deposited with
                   the applicable governmental authorities in accordance with this Agreement
                   (“Employee Taxes”) shall be a part of, and paid out of and shall not be in
                   addition to, the Gross and Net Settlement Amounts.

            2.     The Settlement Administrator shall pay all applicable federal, state, and
                   local taxes that are normally payable by an employer from the employer’s
                   funds, for example, FUTA/SUTA and the employer’s portion of FICA
                   (“Employer Taxes”) due on the wage portion of each Plaintiff’s allocated
                   amount. The Settlement Administrator shall calculate the amount of
                   Employer Taxes owed, and Kellogg shall transmit funds to the Settlement
                   Administrator sufficient to pay the Employer Taxes, in accordance with
                   the timeline outlined in Section XI Employer Taxes are in addition to, and
                   not included in, the Gross or Net Settlement Amounts.

      B.   Non-Wage Payments. Non-wage payments, including Approved Service
           Payments, shall be reported on an IRS Form 1099.

XI.   TIMELINE OF SETTLEMENT EVENTS. The Parties agree to the following timeline
      for completion of the settlement:

      A.    No later than Seven (7) calendar days after the Settlement Effective Date,
            Kellogg shall transfer to the Settlement Administrator the Gross Settlement
            Amount, as approved by the Court, less any Individual Settlement Allocations
            and/or Service Payments attributable to any Opt-out Plaintiffs.

      B.    No later than Fourteen (14) calendar days after the Settlement Effective Date:

            1.     The Settlement Administrator shall mail the Settlement Checks to the
                   Settlement Recipients.

            2.     The Settlement Administrator shall notify Kellogg of the amounts of
                   Employer Taxes.

      C.    No later than Thirty (30) calendar days after the Settlement Effective Date:

            1.     Plaintiffs’ counsel shall authorize the Settlement Administrator to pay the
                   settlement administration costs from the QSF.

      D.    No later than Forty-Five (45) calendar days after the Settlement Effective
            Date, Kellogg shall transfer Employer-side Taxes to the QSF for payment by the
            Settlement Administrator.

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       E.     No later than Nine (9) months and seven (7) calendar days after Settlement
              Effective Date after the Settlement Effective Date, the Settlement Administrator
              shall transfer any amounts attributable to uncashed Settlement Checks remaining
              in the QSF to the appropriate state department of unclaimed funds. The
              Settlement Administrator will then transfer to Kellogg any remaining funds in the
              QSF.

XII.   NO ADMISSION. The Parties agree and acknowledge that this Final Settlement
       Agreement shall not be alleged by Plaintiffs or construed by anyone to be an admission
       of any violation of any federal, state or local statute, or ordinance or regulation, or of any
       duty owed by Kellogg to current or former employees, and that the sole purpose of this
       Agreement and the Individual Release Agreements is to avoid the cost of further
       litigation.

XIII. INADMISSIBILITY OF THIS AGREEMENT. This Final Settlement Agreement is a
      settlement document and shall be inadmissible as evidence in any proceeding, except an
      action or proceeding to approve, interpret, or enforce its terms.

XIV. REASONABLE COMPROMISE OF BONA FIDE DISPUTE. The Parties agree that
     the terms of this Final Settlement Agreement represent a reasonable compromise of
     disputed claims and issues arising from a bona fide dispute over FLSA coverage, and
     agree to represent the same to the Court. The Parties further agree that the settlement is a
     fair, reasonable and adequate resolution of Plaintiffs’ claims.

XV.    WAIVER OF APPEALS. The Parties agree to, and do hereby waive all appeals, with
       the sole exception being that the Parties reserve the right to appeal the Court’s order
       awarding attorneys’ fees and costs to Plaintiffs if the Court’s award is less than the
       amount Plaintiffs’ Counsel requests.

XVI. DOCUMENTS AND DISCOVERY. The Parties in this Action agree and acknowledge
     that certain documents and data were produced to Counsel in connection with this Action
     that were and are subject to the Parties’ Stipulated Protective Order (Dkt. 252), and
     Counsel agree that they have and will continue to comply with their obligations under the
     Stipulated Protective Order.

XVII. NO PUBLICITY/NO SOLICITATION.

       A.     No Publicity. To the extent permissible under governing ethical rules or laws,
              Plaintiffs and Plaintiffs’ Counsel agree not to publicize the Parties’ settlement in
              the press/media and agree not to issue any press release regarding this Action or
              its resolution. Plaintiffs and Plaintiffs’ Counsel agree to respond to any press
              inquiries related to the Action solely with the statement that the Action has been
              resolved.

       B.     No Solicitation. Plaintiffs’ Counsel agree not to solicit any current or former
              Kellogg employees by referencing the Thomas v Kellogg settlement or its terms,
              provided such restriction is permitted by applicable ethical rules or laws.


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XVIII. MUTUAL AND FULL COOPERATION.

       A.     Generally. Counsel for the Parties agree to and shall use their best efforts to fully
              cooperate with each other to take all actions reasonably necessary to implement
              the terms of this Agreement and obtain an Final Approval Order and Judgment of
              Dismissal, as defined herein. No Party shall take any action to oppose
              implementation of this Agreement or any of its terms. Defense counsel shall
              provide Plaintiffs’ Counsel with reasonable assistance necessary to draft all
              papers to be filed with the Court in conjunction with preliminary and final
              approval of this settlement.

       B.     Plaintiffs Seeking to Reject or Contest The Settlement Or Opt Out. To the
              extent not otherwise in violation of an applicable professional rule or law,
              Plaintiffs’ Counsel stipulate that they will not solicit or encourage any Plaintiff in
              seeking to reject or contest this settlement or to opt out of the Action in light of
              this Agreement. Plaintiffs’ Counsel further stipulates that, to the extent not
              otherwise in violation of an applicable professional rule or law, Plaintiffs’
              Counsel will not represent, encourage, solicit, or otherwise assist any Plaintiff
              who contests the settlement or attempts to litigate with Kellogg over the Released
              Claims. Additionally, to the extent not prohibited by applicable professional rules
              or law, Plaintiffs’ Counsel agrees not to represent, encourage, solicit, or otherwise
              assist any Plaintiff in any future litigation against Kellogg regarding the Released
              Claims or related claims. Nothing in this Paragraph XVIII(B) is intended to
              prevent or restrain Plaintiffs’ counsel from: (i) suggesting to any rejecting,
              contesting or opt-out Plaintiff the option of obtaining separate counsel; or
              (ii) from performing ministerial acts necessary to secure the rejecting or opt-out
              Plaintiffs’ withdrawal from the Action (e.g., filing an opt-out form).

XIX. COMMUNICATIONS. Unless otherwise specifically provided, all notices, demands, or
     other communications given under this Stipulation of Settlement shall be in writing and
     shall be sent via U.S. mail, addressed as follows:

                                        To Plaintiffs:
                                         Matt Dunn
                                mdunn@getmansweeney.com
                                      Michael Sweeney
                               msweeney@getmansweeney.com
                               Getman, Sweeney & Dunn, PLLC
                                       260 Fair Street
                                    Kingston, NY 12401

                                        To Kellogg:
                                     James N. Boudreau
                                    boudreauj@gtlaw.com
                                      Greenberg Traurig
                                 2700 Two Commerce Square
                                     2011 Market Street
                                   Philadelphia, PA 19103


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                                               and

                                      Thomas Monroe
                                Thomas.Monroe@Kellogg.com
                                    Norma Barnes-Euresti
                              Norma.Barnes-Euresti@kellogg.com
                                     Kellogg Company
                                   One Kellogg Square, 5S
                                   Battle Creek, MI 49017

XX.    ARBITRATION. The Parties and Plaintiffs’ Counsel agree that they shall submit any
       disputes regarding the interpretation of or performance under this Final Settlement
       Agreement to binding arbitration before James A. Smith, Jr. In the event of such a
       dispute, the prevailing party may apply for an award of reasonable attorneys’ fees,
       arbitrator’s fees, and costs, which the arbitrator shall award in his discretion.

XXI. CONSTRUCTION. The Parties agree that the terms and conditions of this Final
     Settlement Agreement are the result of lengthy and intensive arms’ length negotiations
     between the Parties and that this Agreement shall not be construed in favor of or against
     any Party by reason of the extent to which any Party or his, her, or its counsel
     participated in the drafting of this Agreement. The Parties request that before declaring
     any provision of this Final Settlement Agreement invalid, any arbitrator or court shall
     first attempt to construe all provisions valid to the fullest extent possible consistent with
     applicable precedents and the intent expressed in this Agreement.

XXII. CAPTIONS AND INTERPRETATIONS. Section titles or captions contained in this
      Final Settlement Agreement are inserted as a matter of convenience and for reference,
      and in no way define, limit, extend, or describe the scope of this Agreement or any of its
      provisions.

XXIII. MODIFICATION. Except as the Court may so order, this Final Settlement Agreement,
       including the attached Exhibits, may not be changed, altered, or modified, except in
       writing and signed by counsel for the Parties. This Agreement may not be discharged
       except by performance in accordance with its terms or by a writing signed by counsel for
       the Parties and approved by the Courts.

XXIV. INTEGRATION CLAUSE. This Final Settlement Agreement, including the attached
      Exhibits, contains the entire agreement between the Parties relating to the settlement of
      the Action, and all prior or contemporaneous agreements, understandings,
      representations, and statements, whether oral or written and whether by a Party or such
      Party’s legal counsel, are merged in this Final Settlement Agreement. No rights under
      this Agreement may be waived except in writing signed by the counsel for the Parties.

XXV. BINDING ON ASSIGNS. This Final Settlement Agreement shall be binding upon and
     inure to the benefit of the Parties, including the Released Parties as third-party
     beneficiaries to this Agreement, and their respective heirs, trustees, executors,
     administrators, successors, and assigns.



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XXVI. COUNTERPARTS AND FACSIMILE SIGNATURES. This Final Settlement
      Agreement may be executed in counterparts, and when counsel have signed and delivered
      at least one such counterpart, each counterpart shall be deemed an original, and, when
      taken together with other signed counterparts, shall constitute one Final Settlement
      Agreement. This Final Settlement Agreement may be executed by facsimile signatures or
      email, which shall be deemed to be originals.

XXVII.       APPLICABLE LAW. This Final Settlement Agreement shall be governed by
     and construed in accordance with federal law and the law of the State of Washington, to
     the extent federal law does not apply.


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Patty Thomas                            Kellogg Company and Kellogg Sales Company




                                        [NAME]
Dated:                                  Their Authorized Representative

                                        Dated:



Jennifer Louch (nee Dowling)




Dated:




Kelley Dye, Jr.




Dated:



Robert Gibson




Dated:



Laura Wisby




Dated:




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David Rink




Dated:



Judy Brashear




Dated:




David Mastenbrook




Dated:



Armon McWell




Dated:



Soliman Sayedi




Dated:




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Bruce Johnson




Dated:




Signed by Plaintiffs’ Counsel as to Sections XVII and XVIII only:




[NAME]
Their Authorized Representative

Dated:




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